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   AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                            UNITED STATES DISTRICT COURT
                                                                            for the
                                                                Central District
                                                             __________  Districtofof
                                                                                    California
                                                                                      __________

                      In the Matter of the Search of                           )
              (Briefly describe the property to be searched or identify the    )
                              person by name and address)                      )        Case No. 2:21-MJ-04553
       330 North Crescent Drive, Apartment 310, Beverly                        )
       Hills, CA 90210, including balcony and any storage                      )
       space
       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-1
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                        evidence of a crime;
                        contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                        a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                                   Offense Description
          See Affidavit                                                       See Affidavit
             The application is based on these facts:
                    See attached Affidavit
                        Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                         ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                          Applicant’s signature

                                                                                   Special Agent Austin Hunt
                                                                                                          Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                          Judge’s signature

City and state: Los Angeles, CA                                                                 Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                                          Printed name and title

AUSA: K. Shobaki x0759
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                            ATTACHMENT A-1

PROPERTY TO BE SEARCHED

     The property to be searched is 330 North Crescent Drive,

Apartment 310, Beverly Hills, CA 90210 (the “ABOURCHED

RESIDENCE”). The ABOURCHED RESIDENCE is further described as a

single-family apartment unit in the multi-unit apartment

building depicted below, which is a multi-story, tan structure

with some stone on the façade. The apartment building is located

on the east side of North Crescent Drive. The front door to the

apartment building is in the center of the building, under the

numbers “330.”




     The ABOURCHED RESIDENCE, namely Apartment 310, is located

within the building, on the third floor. There is one entry door



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for the ABOURCHED RESIDENCE, which is white. Silver numbers

stating “310” and an electronic camera are affixed to the door.

A photo of the entry door appears below.




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                              ATTACHMENT B

ITEMS TO BE SEIZED

     The items to be seized are evidence, contraband, fruits, or

instrumentalities of violations of Title 18, United States Code,

Section 1343 (wire fraud) or Title 18, United States Code,

Sections 1956(a)(3), 1956(h), or 1957 (money laundering and

conspiracy to commit the same), (the “Subject Offenses”),

namely:

          a.    All records and information that constitutes

evidence, proceeds, and instrumentalities of violations of 18

U.S.C. § 1343, 18 U.S.C. §§ 1956(a)(3) or (h), or 18 U.S.C.

§ 1957.

          b.    All financial records and information related to

MOHAMED ABOURCHED, KATERYNA ABOURCHED, MSM LUXURY ESTATE, MSM

LUXURY ESTATES, MOKA MOBILE NAILS, INC., MOKA NAIL CLUB, GRAND

RAPIDS PUBLIC SCHOOLS, APPLEBEE OIL AND PROPANE, SUPERIOR GAS

LIQUIDS USA, STOR-ALL STORAGE and its related business entities,

including bank account records, bank statements, deposit

statements/slips receipts, ledgers, cash receipts books, checks,

checkbooks, canceled checks, check registers, withdrawal slips,

Certificates of Deposit, wire transfers, payment confirmations,

electronic funds transfers, cashier’s checks, money orders,

mutual fund and other securities’ records, credit applications,

loan documents, loan payments, loan statements, invoices and/or

bills, payroll records, currency, safe deposit box records and

keys, and financial account passwords.




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          c.    U.S. or foreign currency in excess of $1,000,

including the first $1,000 if more than $1,000 is seized.

          d.    Financial instruments, precious metals, jewelry

and other items of value and/or proceeds of wire fraud and/or

money laundering, and evidence of financial transactions

relating to obtaining, transferring, secreting, or spending

large sums of money made from wire fraud/money laundering.

          e.    Any digital device which is itself or which

contains evidence, fruits, or instrumentalities of the Subject

Offense/s, and forensic copies thereof.

          f.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;




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                iv.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.    evidence of the times the device was used;

                vi.   passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii. records of or information about Internet

Protocol addresses used by the device;

                ix.   records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     103. As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

     104. As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal



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digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

                SEARCH PROCEDURE FOR DIGITAL DEVICES

     105. In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

          a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or
seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location. The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant. The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.




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          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized. The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

          c.    The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

          d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.




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          e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

          f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

          g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

          h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

          i.    The review of the electronic data obtained

pursuant to this warrant may be conducted by any government

personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for

the government, attorney support staff, and technical experts.



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Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

        106. In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

             a.   Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

             b.   Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

             c.   Any magnetic, electronic, or optical storage

device capable of storing digital data;

             d.   Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

             e.   Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

             f.   Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

             g.   Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.



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           h.    During the execution of this search warrant, law

enforcement is permitted to: (1) depress MOHAMED ABOURCHED’s

and/or KATERYNA ABOURCHED’s thumb and/or fingers onto the

fingerprint sensor of the device (only when the device has such

a sensor), and direct which specific finger(s) and/or thumb(s)

shall be depressed; and (2) hold the device in front of MOHAMED

ABOURCHED’s and/or KATERYNA ABOURCHED’s face with his or her

eyes open to activate the facial-, iris-, or retina-recognition

feature, in order to gain access to the contents of any such

device. In depressing a person’s thumb or finger onto a device

and in holding a device in front of a person’s face, law

enforcement may not use excessive force, as defined in Graham v.

Connor, 490 U.S. 386 (1989); specifically, law enforcement may

use no more than objectively reasonable force in light of the

facts and circumstances confronting them.

      107. The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not
apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT

      I, Austin Hunt, being duly sworn, declare and state as

follows:

                   I.    BACKGROUND FOR AUSTIN HUNT

      1.   I am a Special Agent with the United States Secret

Service (“Secret Service”), Grand Rapids Resident Office, and

have been so employed since October of 2020. Prior to working as

a Special Agent, I was a Uniformed Division Lieutenant with the

Secret Service for 14 years. I have received extensive training

relating to investigating financial crimes and money laundering.

      2.    My current duties involve investigating federal

violations, including computer fraud, wire fraud, money

laundering, and conspiracies to commit those crimes. Both as a

uniformed officer with Secret Service and as a Special Agent, I

have performed various tasks including, but not limited to,

conducting complex financial fraud investigations that involve

money laundering, including the structuring, placement, and

layering of large amounts of U.S. currency; conducting

surveillance; assisting in the preparation and execution of

search warrants; seizing evidence; and interviewing informants

and persons involved in the illegal movement of proceeds of

fraud and other illicit activities.

      3.   The facts set forth in this affidavit are based on my

personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses involved in this investigation, as well as law

enforcement reports, bank records, and telephone records. This
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affidavit is intended to show merely that there is sufficient

probable cause for the requested search warrant and does not

purport to set forth all my knowledge of the investigation into

this matter. Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                       II.   PURPOSE OF AFFIDAVIT

      4.   This affidavit is made in support of a search warrant

for the following locations:

           a.     a residence located at 330 North Crescent Drive,

Apartment 310, Beverly Hills, CA, 90210 (the “ABOURCHED

RESIDENCE”) described more fully in Attachment A-1;

           b.     an office suite located at 415 North Crescent

Drive, Suite 230, Beverly Hills, CA, 90210 (the “MSM OFFICE”)

described more fully in Attachment A-2;

           c.     an office suite located at 292 South La Cienega

Boulevard, Suite 207A, Beverly Hills, CA 90211 (the “MOKA NAIL

OFFICE”) described more fully in Attachment A-3; and

           d.     a black 2020 BMW X5 with California license plate

number 8RHP035 (the “BLACK BMW”) described more fully in

Attachment A-4.

      5.   The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code, Section 1343 (wire fraud) and

Title 18, United States Code, Sections 1956(a)(3), 1956(h), and

1957 (money laundering and conspiracy to commit the same), as




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described more fully in Attachment B. Attachments A-1, A-2, A-3,

A-4, and B are incorporated herein by reference.

                   III. STATEMENT OF PROBABLE CAUSE

      6.   The Secret Service is currently investigating MOHAMED

MAGDI ABOURCHED and KATERYNA ABOURCHED for engaging in a wire

fraud scheme that caused Grand Rapids Public Schools, in Grand

Rapids, Michigan, to transfer $2.8 million into a business bank

account belonging to the ABOURCHEDs, in response to fraudulent

emails.

      7.   The Grand Rapids office of the Secret Service is

investigating this case in partnership with the Grand Rapids

Police Department and the High Tech Crime Task Force of the

Beverly Hills Police Department (“BHPD Task Force”). The BHPD

Task Force includes law enforcement officers with the Beverly

Hills Police Department, the Culver City Police Department, the

University of California Los Angeles Police Department, as well

as Secret Service Special Agents.

      A.   SUBJECTS AND RELATED BUSINESSES

      8.   MOHAMED and KATERYNA ABOURCHED are a married couple1

who live at 330 North Crescent Drive, Apartment 310, Beverly

Hills, CA, 90210, i.e., the ABOURCHED RESIDENCE.

      9.   As described in more detail below, the investigation

has shown that MOHAMED and KATERYNA ABOURCHED have multiple

business and personal bank accounts that have been used to

perpetuate wire fraud against Grand Rapids Public Schools and


1  According to publicly accessible information on KATERYNA ABOURCHED’s
Facebook page, she and MOHAMED ABOURCHED married in February 2018.


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launder the fraud proceeds. The business bank accounts are in

the name of two businesses, in particular: (1) MSM Luxury

Estate, also called MSM Luxury Estates (plural); and (2) Moka

Mobile Nails, Inc., aka Moka Nail Club.

            1.   MSM Luxury Estate

      10.   According to publicly available electronic filings

provided by the California Secretary of State database of

business filings (“California business database”), MSM Luxury

Estate is a real estate services and sales corporation that was

incorporated on January 30, 2014, by Michael H. Starler, with

“Moe Abourched” as the registered agent, at the address of the

MSM OFFICE. In a filing dated April 15, 2021, “Moe Abourched” is

listed as the Chief Executive Officer, the Secretary, the Chief

Financial Officer, and the Director of MSM Luxury Estate.2
      11.   MSM Luxury Estate has a website at the url

www.msmle.com. The website includes an information page that

boasts about the depth of the company’s high-level real estate

experience:

      Established in 2007, MSM Luxury Estates is a full-
      service Beverly Hills based, luxury real estate
      company representing clients worldwide in a broad
      spectrum of classes, including single-family,
      residential, new development, resort & hospitality,
      residential leasing and management. . . .

      Our firm has gathered a team of the top talents in the
      industry, each of whom is well versed in the
      California real estate market, and who offer the
      caliber of knowledge, skills, and dedication that


2  In state business filings, the company name is “MSM Luxury Estate,”
with no “s” at the end of “Estate.” The company is identified as “MSM
Luxury Estates” in various bank records. The company’s website uses
both the singular and the plural version of “Estate.”


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      produced unmatched results while elevating your
      experience. . . .

Below this information there is a photograph of “Moe Abourched,”

Founder and CEO, followed by a paragraph about him:




      12.   Based on the website for MSM Luxury Estate, it appears

there are a total of two employees: MOHAMED ABOURCHED and

“Evelyn Rubio,” whose title is “Director of Sales.”

      13.   According to publicly available information on a

commercial leasing website, Suite 230 of 415 North Crescent




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Drive (the MSM OFFICE) is 667 square feet and will be available

for lease in January 2022.

            2.   Moka Mobile Nails, Inc., aka Moka Nail Club

      14.   According to the California business database, Moka

Mobile Nails, Inc. was incorporated by MOHAMED ABOURCHED on May

3, 2018, under the name of Moka Uber Nails, Inc., at the address

of the MSM OFFICE: 415 North Crescent Drive, Suite 230, Beverly

Hills, CA, 90210. However, surveillance of KATERYNA ABOURCHED

(described in section IV, below) and publicly available internet

information about “Moka Nail Club” has shown that Moka Mobile

Nails, Inc. is not located at 415 North Crescent Drive, Suite
230. Rather, it is located at 292 South La Cienega Boulevard,

Suite 207A, Beverly Hills, California, 90211, i.e., the MOKA

NAIL OFFICE. Moreover, the business is operating under the name

of Moka Nail Club.

      15.   According to an August 19, 2019, California business

filing, the name of the corporation changed from Moka Uber

Nails, Inc. to Moka Mobile Nails, Inc. In that same filing,

MOHAMED ABOURCHED was listed as the President and KATERYNA

ABOURCHED was listed as the Secretary. Presently, the California

business database reflects that Moka Mobile Nails, Inc. has been

suspended by the California Franchise Tax Board and is not

permitted to do business in California.

      16.   Based on a website for Moka Nail Club and internet

reviews of company, it appears to be an appointment-only nail

salon with one employee: KATERYNA ABOURCHED.




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      B.    Fraudulent Emails Cause Grand Rapids Public Schools to
            Transfer $2.8 Million to Bank Account of “Moka Mobile
            Nails, Inc.” in the Name of MOHAMED and KATERYNA
            ABOURCHED

      17.   Grand Rapids Public Schools (“GRPS”) is a public

school district in Grand Rapids, Michigan. GRPS obtains health

insurance for all its employees through a company called MESSA

Wellness (“MESSA”). GRPS typically pays insurance dues to MESSA

every month, via a wire transfer from GRPS’s PNC Bank account to

MESSA’s account with JP Morgan Chase Bank (“Chase Bank”).

      18.   On July 12, 2021, GRPS Employee Bill S., who processes

the wire payments to MESSA, received an email purportedly from

GRPS Employee Amy R., indicating that MESSA provided new “wiring

information”:




      19.   The attachment to this email—purportedly from MESSA,

on Chase Bank letterhead—provided a new bank account number for

MESSA, namely Chase Bank account number 629809515 (“CHASE

9515”). Below is a screen shot of the attachment.




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      20.   GRPS’s Amy R. was interviewed by Grand Rapids Police

(“GRPD”) Detective Mason Klein on September 13, 2021. Amy R.

said she did not write or send the July 12, 2021 email to Bill

S., which contained the attachment purportedly from MESSA

providing a new bank account number. Amy R. indicated that she

never uses phrases like “please kindly update.” This July 12,


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2021 email from GRPS’s Amy R. to GRPS’s Bill S. was determined

to be fraudulent; it was sent by an individual who had somehow

gained access to Amy R.’s GRPS email account.

      21.   Detective Klein interviewed GRPS employee Bill S. on

September 15, 2021. From Detective Klein’s interviews, he

learned that, on July 21, 2021, Amy R. and Bill S. were

uncertain about the correct recipient bank account for GRPS’s

monthly insurance payments to MESSA. Amy R. recalled that Bill

S. came to her desk and asked for verification to change the

bank account number for MESSA. In response to this, Amy R.

attempted to call her contact at MESSA, Kevin P. However, Amy R.

learned that Kevin P. was on vacation, so she spoke with Kevin

P.’s assistant, MESSA employee Joan N. GRPS phone records

reflect two calls from Amy R.’s number to the main number for

MESSA, at 9:16 a.m. (for almost three minutes) and 9:19 a.m.

(for almost seven minutes).

      22.   At 9:32 a.m. on July 21, GRPS’s Amy R. sent the

following email to several MESSA employees, with the attachment

that purportedly provided MESSA’s new bank account information

(shown in paragraph 19, above):




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      23.   GRPS’s Amy R. confirmed that she did, in fact, send

this email on July 21, 2021, at 9:32 a.m., to MESSA employee

Joan N., copying GRPS’s Bill S. and MESSA employees Kevin P. and

Renee S.

      24.   At approximately 9:58 a.m. on July 21, the following

email was sent from Amy R.’s GRPS account to several MESSA

employees and to GRPS’s Bill S.:




      25.   GRPS’s Amy R. told Detective Klein that she did not

write or send this email and had never seen it before. Notably,

this email includes “kindly” language, similar to what appeared

in the fraudulent email from Amy R.’s email account on July 12.

This email from 9:58 a.m. on July 21 was also determined to be

fraudulent. I and other investigators believe that the

individual who gained access to Amy R.’s GRPS email account was

regularly monitoring Amy R.’s incoming and outgoing emails and

was sending fraudulent emails, accordingly, to attempt to get

GRPS to send its monthly insurance payment to CHASE 9515.

      26.   As noted above, MESSA employee Kevin P. was on

vacation on July 21, 2021, and MESSA employee Joan N. was Kevin

P.’s assistant. In response to the 9:58 email from Amy R.’s GRPS



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email address—which suggested to all recipients that MESSA’s

Kevin P. had communicated with GRPS’s Amy R.—MESSA’s Joan N.

sent an email at 10:05 a.m. to GRPS’s Amy R. to see if

everything was squared away:




        27.   Three minutes later, at 10:08 a.m., a fraudulent reply

email was sent from GRPS’s Amy R. to multiple MESSA employees

and to GRPS’s Bill S.:




        28.   Believing that Amy R. had confirmed the accuracy of

the CHASE 9515 account as one belonging to MESSA, GRPS’s Bill S.

sent the July monthly insurance payment from GRPS to MESSA on

July 21, 2021, by making an electronic wire transfer in the

amount of $1,387,565.37, from GRPS’s PNC Bank account to CHASE

9515.




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      29.   On or about August 24, 2021, GRPS Employee Bill S.

processed the August monthly insurance payment from GRPS to

MESSA, by again making an electronic direct payment (via the

ACH) in the amount of $1,451,810.24 from GRPS’s PNC Bank account

to CHASE 9515.

      30.   The wire transfers from July and August totaled

$2,839,375.61.

      31.   On or about September 2, 2021, GRPS’s Bill S. and Amy

R. learned from MESSA employees that the GRPS insurance dues

payments for July and August were past due. The GRPS employees

exchanged emails with MESSA employees about this, attempting to

determine what happened with the payments GRPS sent to MESSA.

      32.   On or about September 9, 2021, GRPS contacted PNC Bank

to try to recall the August payment of $1,451,810.25 from GRPS’s

PNC Bank account to CHASE 9515. PNC Bank attempted to recall the

payment of $1,451,810.25, effecting a freeze on those funds in

CHASE 9515.3

      33.   On September 10, 2021, while GRPS and MESSA employees
were communicating over email to try to determine what happened

with GRPS’s July and August insurance payments, GRPS Employee

Bill S. received an email from Amy R. that blatantly appeared

fraudulent. The email was addressed to Bill S., with MESSA

employee Kevin P. added in the cc: field of the email. However,




3  On September 13, 2021, Chase Bank successfully returned the second
wire transfer of GRPS funds, in the full amount of $1,451,810.24, to
GRPS’s account with PNC Bank, before any of those funds were depleted
or diverted to other bank accounts.


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the email address for MESSA’s Kevin P. was bogus, as the letter

“s” appeared three times in the name, “Messsa”4:




      34.   This email was determined to be fraudulent. Again Amy

R. said that she did not write, send, or even see this email

sent from her account on September 10. It also uses “kind”

language, which is not reflective of Amy R.’s writing style.

      35.   Based on my review of the pertinent emails sent to and

from GRPS and MESSA employees, from Amy R., I believe that Amy

R.’s GRPS email account was breached by a person or persons

involved in a scheme to defraud and steal funds of GRPS that

were intended for MESSA insurance payments. Moreover, I believe

that the person or persons was/were regularly accessing and

monitoring the email traffic in Amy R.’s email account to stay

abreast of communications between GRPS and MESSA about the

monthly insurance payments and intervene accordingly, to ensure

the success of the wire fraud scheme.




4  The highlighting in this image was added by GRPS personnel who
provided the emails to law enforcement.


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      36.   The investigation has identified no connection between

GRPS employees Amy R. and Bill S., or any GRPS or MESSA

employees, and the individuals who spent and transferred stolen

GRPS funds after they were deposited into CHASE 9515, namely

MOHAMED and KATERYNA ABOURCHED.

      C.    MOHAMED and KATERYNA ABOURCHED Spend and/or Transfer
            Over One Million Dollars of Funds Belonging to GRPS

      37.   On or about September 9, 2021, a Chase Bank Global

Security Vice President-Investigator (“Chase Bank VP”) was

notified by a Chase Bank employee that PNC Bank had recalled the

August 24, 2021 payment of $1,451,810.24 from GRPS’s PNC Bank

account to CHASE 9515. According to the Chase Bank VP, Chase

Bank was unaware of the reason for the recall, but it began an

investigation into CHASE 9515.

            1.   Chase Account 629809515: MOHAMED and KATERYNA
                 ABOURCHED’s Account for “Moka Mobile Nails, Inc.”

      38.   According to the Chase Bank VP, CHASE 9515 is a

business account titled to Moka Mobile Nails, Inc., with an

address of 415 N. Crescent Dr., Suite 230, Beverly Hills, i.e.,

the MSM OFFICE address. The Chase Bank VP determined that the

owners of the account are MOHAMED MAGDI ABOURCHED and KATERYNA

ABOURCHED, with a shared residential address of 330 North

Crescent Dr., Apartment 310, Beverly Hills, California, i.e.,

the ABOURCHED RESIDENCE. According to Chase Bank records,

MOHAMED ABOURCHED’s phone number is 310-990-9850 and KATERYNA

ABOURCHED’s number is 424-324-1551.

      39.   According to the Chase Bank VP, the account balance in

the Moka Mobile Nails Inc. account (CHASE 9515) before the July


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21, 2021 deposit of $1,387,565.37 of GRPS funds was $299.77. The

Chase Bank VP explained that during the prior year, the account

balance in CHASE 9515 was typically in the range of $100 to

$1,000 at a time.

           40.      According to information provided by the Chase Bank

VP,5 following the deposit of $1,387,565.37 of GRPS funds into

CHASE 9515 on July 21, 2021, the entire amount was spent or

transferred out of CHASE 9515 between July 22 and September 7,

2021. Among other transactions, including purchases at

establishments in the Beverly Hills area, and expenditures out

of the Moka Mobile Nails Inc. account included the transactions

in the chart below.

                                CHASE 9515 – MOKA MOBILE NAILS, INC.
                              Select Transfers and Payments Out of Account
                                                                                         Chase Online
Date             Type       Amount     Recipient Bank Account and Beneficiary            Banking Profile
                                                                                         Used
                                       Chase Bank account 631776355 (“CHASE
                 Online                                                                  MOHAMED
7/27/21                     $37,500    6355”), personal bank account of MOHAMED and
                 transfer                                                                ABOURCHED
                                       KATERYNA ABOURCHED
                 Online                CHASE 6355, personal bank accounts of             MOHAMED
7/27/21:                    $250,000
                 transfer              MOHAMED and KATERYNA ABOURCHED                    ABOURCHED
                 Online                Navy Federal Credit Union account 3124839873,     MOHAMED
7/27/21                     $5,000
                 transfer              for recipient “MSM Luxury Estates”                ABOURCHED
                 Wire                  First Foundation Bank account 1049001328 in the
7/27/21                     $762,000                                                     n/a
                 transfer              name of “MSM Luxury Estate” 6
                 Wire                  Truist Bank account number 1000247943565, for     MOHAMED
7/29/21                     $49,378
                 transfer              recipient “Robert Wilson”                         ABOURCHED
                 Wire                  Regions Bank account number 0314968770, for       MOHAMED
8/4/21                      $5,000
                 transfer              recipient “Faithful Motors LLC”                   ABOURCHED
                 Online                First Foundation Bank account 1049001328 in the   MOHAMED
8/10/21                     $100,000
                 transfer              name of “MSM Luxury Estate”                       ABOURCHED


5  Legal process has been issued to most of the financial institutions
holding accounts that received funds from CHASE 9515, but records have
not yet been received.
6  The Chase Bank VP communicated with an investigator from First
Foundation Bank who confirmed that the owner of account number
1049001328 is MSM Luxury Estates.


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                Online                   Navy Federal Credit Union account number
8/12/21                      $100,000                                                       n/a
                transfer                 7090206678, for recipient “MSM Luxury Estate”
8/18/21         Payment      $3,503.28   “NUBU HOTEL CABOS USD CABO SAN LUCA;”              n/a
                Debit Card               Ferragamo in Beverly Hills, CA (upscale retail
8/29/21                      $3,084.50                                                      n/a
                Purchase                 store that sells shoes, handbags, jewelry, etc.)
                Cashier
9/2/21                       $20,000     Recipient “Navin Hemrajani”                        n/a
                Check
                Wire                     Lake City Bank account number 1016220007, for      MOHAMED
9/2/21                       $5,000
                transfer                 recipient “Safefunds LLC”                          ABOURCHED

          41.      Although we do not yet have records from First

Foundation Bank, a First Foundation Bank employee provided me

with limited information about the $762,000 wire transfer that

was deposited into account number 1049001328, in the name of

“MSM Luxury Estate.” The bank employee informed me that almost

all of those funds were subsequently transferred to one or more

overseas bank accounts.

          42.      With respect to the use of GRPS funds on August 18,

2021 to pay $3,503.28 to “NUBU HOTEL CABOS USD CABO SAN LUCA,”

this corresponds to a “vacation” MOHAMED and KATERYNA ABOURCHED

took to Cabo San Lucas, Mexico, as announced in an Instagram

post on the “mokanailclub” account. The post, dated August 18,

shows a person on a plane who I recognize as KATERNYA ABOURCHED:




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      43.    A Special Agent with Homeland Security Investigations

informed me that, on August 18, 2021, MOHAMED and KATERYNA

ABOURCHED reentered the United States through customs at Los

Angeles International Airport, after returning on United

Airlines flight 1754 from Cabo San Lucas, Mexico.

      44.    With respect to the $20,000 cashier’s check purchased

on September 2, 2021, for “Navin Hemrajani,” the Chase VP

provided a photo excerpted from the bank’s surveillance video

for that transaction; it shows a person I recognize as MOHAMED

ABOURCHED:




             2.   Chase Account 631776355: MOHAMED AND KATERYNA
                  ABOURCHED’s Personal Bank Account

      45.    The Chase Bank VP reviewed the account activity for

the personal bank account of MOHAMED and KATERYNA ABOURCHED,

namely Chase Bank account 631776355 (“CHASE 6355”), into which a


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total of $287,500 of stolen GRPS funds were deposited on July

27, 2021, from CHASE 9515. According to the Chase Bank VP, prior

to that deposit, the balance of the ABOURCHEDs’ shared personal

bank account, i.e., CHASE 6355, was $273.49. Over the course of

the prior year, the account balance was typically in the range

of $1,000 to $5,000 at a time.

           46.    Between July 27 and September 17, 2021, CHASE 6355,

the personal account belonging to MOHAMED and KATERYNA

ABOURCHED, was used for: (1) a veritable spending spree at

restaurants and high-end retail stores in and around Beverly

Hills; (2) payments to utilities providers, Moneygram, and Venmo

recipients; and (3) online payments, account transfers, and wire

transfers of funds to other bank accounts and credit card

accounts. Over $100,000 in stolen GRPS funds were depleted from

CHASE 6355 in that period. With respect to the third category—

transfers and payments to other accounts—the Chase Bank VP

identified the following transfers/transactions from CHASE 6355

to other bank or credit card accounts:

                      CHASE 6355 – Personal Account MOHAMED & KATERYNA ABOURCHED
                                 Select Transfers and Payments Out of Account
 Date            Type         Amount         Recipient Bank Account and Beneficiary Chase Online Banking
                                                                                      Profile Used
 07/27/21        Online       $7,302.76      Chase Bank credit card account ending in KATERYNA
                 payment                     9958                                     ABOURCHED
 07/27/21        Online       $6,038.35      Chase Bank credit card account ending in KATERYNA
                 payment                     9621                                     ABOURCHED
 7/28/21         ACH          $67.24         American Express account; transaction ID n/a
                 payment                     W4510
 7/28/21         ACH          $67.24         American Express account; transaction ID n/a
                 payment                     A3848
 7/29/21         ACH          $9,266.45      Navy Federal bank account number         n/a
                 payment                     158434212000002
 7/30/21         ACH          $8,463.54      Navy Federal bank account number         n/a
                 payment                     158434212000002



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 8/2/21          Wire         $20,000     Truist Bank account number                   MOHAMED
                 transfer                 1000247943565, for recipient “Robert         ABOURCHED
                                          Wilson”
                 Wire         $1,000      Capital One account 3620719861 for           MOHAMED
 08/04/21
                 transfer                 recipient “Software Assurance Capital LLC”   ABOURCHED
 8/8/21          Online       $6,000      Chase Bank account 897785205, personal       KATERYNA
                 transfer                 bank account of KATERYNA                     ABOURCHED
                                          ABOURCHED
                 Online       $7,241.94   Chase Bank credit card account ending in     KATERYNA
 8/28/21
                 payment                  9621                                         ABOURCHED
                 Online       $4,124.98   Apple credit card account number             n/a
 9/3/21
                 payment                  20260238

           47.     As indicated in the charts, above, many of the

transactions out of the ABOUCHEDs’ business and personal

accounts with Chase Bank were conducted online, through the

online banking profiles of MOHAMED ABOURCHED and KATERYNA

ABOURCHED. The Chase Bank VP explained that anyone who accessed

the Moka Mobile Nails, Inc. account, CHASE 9515, through an

online banking profile, would have been able to plainly see that

the sender of the deposits on July 21 and August 24, 2021, for

$1,387,565.37 and $1,451,810.24 respectively, was Grand Rapids

Public Schools.

                   3.       MOHAMED ABOURCHED Called GRPS and GRPD Claiming
                            to Be a Fraud Victim

           48.     On September 20, 2021, at approximately 3:20 p.m.,

GRPS employee Bill S. received a call from a man who said he was

MOHAMED ABOURCHED. During the call, ABOURCHED told Bill S. that

he had an investment company and that wires went into his

company bank account at Chase Bank. ABOURCHED informed Bill S.

that ABOURCHED received a photograph of a document, via the

WhatsApp phone app, on GRPS letterhead, which was signed by Bill

S. ABOURCHED explained that, in the letter, Bill S. said



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everything was good with the two wire payments into ABOURCHED’s

business account. ABOURCHED asked if Bill S. sent the letter and

Bill S. said he did not. ABOURCHED claimed to have googled Bill

S.’s name to find a phone number to call Bill S. ABOURCHED said

he was instructed by people he now believes are fraudsters to

transfer the wired funds to other bank accounts. ABOURCHED told

Bill S. that he was not instructed to do anything with the

second wire of funds. ABOURCHED told Bill S. that Chase had

closed ABOURCHED’s bank account and ABOURCHED had no idea why.

Bill S. told ABOURCHED that both of the wires into ABOURCHED’s

account were fraudulent wires of funds involving GRPS’s venders.

Bill S. asked ABOURCHED to immediately call GRPD Detective Klein

and provided ABOURCHED with Detective Klein’s phone number.

      49.   At approximately 3:40 p.m. on September 20, 2021, GRPD

Detective Klein received a phone call from a man who identified

himself as MOHAMED ABOURCHED, who was using phone number 310-

990-9850. (This is ABOURCHED’s phone number according to Chase

Bank records and various internet sites). ABOURCHED told

Detective Klein that he owns MSM Luxury Estates, a real estate

company. ABOURCHED said that his Chase Bank account was locked

and his assets were seized, but ABOURCHED did not know why

because he was the victim. ABOURCHED said that he called Chase,

but nobody would talk to him about what was going on. Detective

Klein asked ABOURCHED for his home address. ABOURCHED provided

Detective Klein with the business address for MSM Luxury Estate,

i.e., the MSM OFFICE, instead of his actual home address.




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      50.   ABOURCHED told Detective Klein that he sometimes has

foreign business and that he met a woman from Europe, “Dora,”

through a third party who said Dora might be interested in

buying some property. ABOURCHED did not know Dora’s last name

but he claimed to have a photograph of her passport. Detective

Klein asked ABOURCHED to provide the name of the third party who

introduced him to Dora, but ABOURCHED would not do so. Detective

Klein asked if ABOURCHED met Dora on a dating app. ABOURCHED

replied no and explained that he was married—presumably implying

that he would not use dating apps as a married man. ABOURCHED

said that, six or seven months ago, Dora approached ABOURCHED

with an opportunity for a $100 million investment, but it fell

through. More recently, Dora texted ABOURCHED about a $2.8

million investment opportunity.

      51.   ABOURCHED told Detective Klein that he had received a

letter that morning through the WhatsApp phone app, from GRPS

employee Bill S. stating that the wire into ABOURCHED’s Chase

account ending in 9515 was valid. Detective Klein asked

ABOURCHED to send a picture of the purported GRPS letter to

Detective Klein’s cell phone number. ABOURCHED did so and

Detective Klein received a photograph of the letter, via text

message, from 310-990-9850. Below is the image that ABOURCHED

sent to Detective Klein via text message:




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      52.   ABOURCHED acknowledged getting the $2.8 million in his

business bank account but said, again, that he was a victim.

ABOURCHED said that he “just wanted to make a buck” and that he




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forwarded the funds to other accounts. Detective Klein attempted

to ask questions about funds that were forwarded to other

accounts, at which point ABOURCHED said that it sounded like he

should get a lawyer. ABOURCHED asked if he needed a lawyer;

Detective Klein replied that he could not provide ABOURCHED with

legal advice. ABOURCHED said that he was going to call a lawyer

and would have his lawyer call Detective Klein back, or

ABOURCHED himself would call back after consulting a lawyer.

Detective Klein did not hear back from ABOURCHED or an attorney

on ABOURCHED’s behalf.

      D.    March 2021 Fraud Involving ABOURCHED’s Chase Bank
            Business Account for MSM Luxury Estates

      53.   The Chase Bank VP informed me that MOHAMED ABOURCHED

previously had a business bank account titled to MSM Luxury

Estates, which was closed by Chase Bank in March 2021 due to

fraudulent transactions in a business email compromise scheme.

In March 2021, a business in St. Johns, Michigan called Applebee

Oil and Propane (“Applebee”) sent five Automated Clearinghouse7

transfers, totaling $90,076.14, to an MSM Luxury Estates account
at Chase Bank, following fraudulent emails.




7  The Automatic Clearing House (“ACH”) is a computer-based electronic
network that processes financial transactions between financial
institutions, such as direct deposits and direct payments for goods or
services. ACH transactions, also called ACH transfers, are processed
in batches, meaning that multiple transfers are accumulated before
they are transmitted in bulk. ACH transfers often take several days to
clear, if there are sufficient funds in the account from which funds
are being debited. In contrast, wire transfers are direct, singular
transfers of money from one financial institution to another, which
are typically sent and received the same day.



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      54.   On September 30, 2021, I interviewed Applebee employee

Sue C. about the fraud that occurred in March 2021. Sue C.

provided copies of the fraudulent emails that caused Applebee to

send money to the MSM Luxury Estate bank account with Chase

Bank. On March 3, 2021, Applebee employee Sue C. received emails

purportedly from an employee with Superior Gas Liquids USA

(“Superior”), a company with whom Applebee does regular

business. At the time, Sue C. did not realize that the emails

from Superior’s Arleen L. displayed the wrong email address—the

name “Superior” was misspelled to omit the middle “r.” Among the

emails Sue C. received on March 3, 2021, one informed Applebee

that Superior had “new banking details”:




      55.   Notably, this email includes the term “[k]indly,”

which appeared in two of the fraudulent emails sent to GRPS.

Attached to this email was a .pdf file of what appeared to Sue

C. to be a valid Superior invoice:




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      56.   The “new banking details” appear in the bottom left

portion of the invoice and show Chase Bank account number

29786700. According to information provided by the Chase Bank,

account number 29786700 was a business account in the name of

MSM Luxury Estate, with MOHAMED MAGDI ABOURCHED listed as the

signer for the account (“MSM Chase account”).

      57.   Over the next two weeks, Applebee sent five ACH

payments to the the MSM Chase account, intended for Superior.

According to Chase Bank records, the ACH transfers were credited

to the MSM Chase account as follows:

                 March 8, 2021 $15,3781.44

                 March 9, 2021: $10,333.41


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                  March 15, 2021: $28,593.76

                  March 16, 2021: $21,052.08

                  March 22, 2021: $14,715.45

      58.   The fraud was discovered by Applebee on or about March

22, 2021, at which point Chase Bank closed the MSM Chase account

due to the fraudulent transactions. There was approximately

$77,959.59 remaining in the MSM Chase account, which was

returned to Applebee. In total, Applebee suffered losses of

$12,116.15.

      59.     Between March 8 and March 22, 2021, the MSM Chase

account was used for a variety of transactions, including

purchases at stores and restaurants in the greater Los Angeles

area. The MSM Chase account was used at some of the very same

restaurants where stolen GRPS funds were spent in July and

August 2021: Porta Via and La Scala in Beverly Hills, and The

Izakaya in West Hollywood.

      60.   Chase Bank did not contact ABOURCHED about the fraud

in the MSM Chase account in March 2021, nor did ABOURCHED

contact Chase Bank to inquire about why the account was closed.

      E.    March and April 2021 Fraud Involving ABOURCHED’s Wells
            Fargo Bank Business Account for MSM Luxury Estates

      61.   According to information provided by Wells Fargo Bank

(“Wells Fargo”) and a Florida company, Stor-All Storage (“Stor-

All”), in late March and April 2021, Stor-All was victim of a

fraud scheme that resulted in $500,000 being transferred via

wire into an MSM Luxury Estates account with Wells Fargo.




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           62.   According to Wells Fargo, the recipient account,

number 7240990759, was in the name of customer MOHAMED M

ABOURCHED, doing business as “MSM Luxury Estates” (“MSM Wells

Fargo Account”). The wires were transmitted as follows:

 Date            Amount       Recipient Bank Account           Beneficiary
 3/31/21         $185,000     Wells Fargo account 7240990759   MSM Luxury Estates, Inc.
 3/31/21         $315,000     Wells Fargo account 7240990759   MSM Luxury Estates, Inc.

           63.   On April 1st and 2nd, 2021, funds were depleted from

the MSM Wells Fargo Account as follows:

                       April 1, 2021: $10,000 outgoing wire transfer to
                        “Saskia Tattegrain”

                       April 2, 2021: $2,972.50 debit card purchase at
                        Western Union

                       April 2, 2021: $2,972.50 debit card purchase at
                        Western Union

           64.   On April 2, 2021, Wells Fargo learned of the fraud

from law enforcement and from Bank of America (Stor-All’s bank).

Bank of America attempted to recall the wires on April 2, 2021.

           65.   On April 2, 2021, a Wells Fargo bank investigator

spoke with MOHAMED ABOURCHED, without knowing that ABOURCHED was

part of the fraud. The investigator informed ABOURCHED that the

wires totaling $500,000 had been recalled. ABOURCHED told the

investigator that he was contacted by someone named “Bert

Anderson,” who instructed ABOURCHED to receive the funds.

ABOURCHED said he believed he was conducting legitimate business

transactions at the behest of Bert Anderson. The investigator

told ABOURCHED that his account was involved in a scam or fraud.

           66.   On April 3, 2021, MOHAMED ABOURCHED called the BHPD to

make a threat report. BHPD Officer Nicholas Dimento responded to


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the ABOURCHED RESIDENCE, where he met MOHAMED ABOURCHED.

According to Officer Dimento, ABOURCHED said that he was in real

estate and was contacted on April 1, 2021, by a man he dealt

with a few times over the past couple years, who ABOURCHED knew

only by his first name, “Nickoli.” ABOURCHED said Nickoli had

some people that wanted to get involved in real estate and

invest $500,000 with ABOURCHED. ABOURCHED told Officer Dimento

that Nickoli had $500,000 transferred into ABOURCHED’s bank

account. However, ABOURCHED said that Bank of America (not Wells

Fargo) advised him that the transfer was recalled because it was

fraudulent. ABOURCHED claimed to not know why the bank

considered the transfer fraudulent. ABOURCHED further explained

to Officer Dimento that, prior to the recall of the $500,000

transfer into his account, ABOURCHED sent two wire transfers of

$2,900, plus a $72 fee, via Western Union, at the direction of

Nickoli, as part of a fee for the investment transaction.

ABOURCHED said he could not stop the Western Union wires.

      67.   ABOURCHED told Officer Dimento that, after the

$500,000 transfer was recalled, ABOURCHED began receiving text

messages from an unknown number, demanding that ABOURCHED wire

$25,000 to them or they would go after him and his family.

ABOURCHED showed Officer Dimento screenshots of the text

messages, in which the sender referred to ABOURCHED’s nieces and

other family members and claimed to know where they lived.

ABOURCHED said that numerous family members had contacted had,

saying they were receiving phone calls from unknown numbers with

people saying they were looking for ABOURCHED. ABOURCHED said he



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wanted the people making threats to be prosecuted. Officer

Dimento later tried to call the number that ABOURCHED claimed

was used for threats against him, but there was no answer.

       68.   ABOURCHED told Officer Dimento that he also received




text messages from “Bert Anderson,” with “Stor Development LLC.”

ABOURCHED provided Officer Dimento with screen shots of this

purported conversation. In the messages, Anderson said the money

that was transferred into ABOURCHED’s account was his, and it

was never supposed to be sent to ABOURCHED in the first place.

Anderson claimed to also have been swindled by Nickoli8 and

lamented that they were both victims. In the exchange, ABOURCHED

claimed that he was told the money was for real estate

investments; his words appear in the blue highlighted, right

side text of this excerpt from the screen shots:

8   The purported Anderson spelled the name “Nicolie” with an “ie.”


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      69.   Notably, the story ABOURCHED told Officer Dimento on

April 3, 2021, was different than the story ABOURCHED told the

Wells Fargo investigator on April 2, 2021. ABOURCHED did not

mention anyone named “Nickoli” to the Wells Fargo investigator.

Additionally, the screen shots of the text messages between

ARBOUCHED and the purported “Bert Anderson” are dated Friday,

April 1—before ABOURCHED was told by the Wells Fargo

investigator about the recall of the $500,000 wire transfers,

and before ABOURCHED’s Western Union wires on April 2. When

ABOURCHED talked to the Wells Fargo investigator on April 2,

2021, he did not indicate that he already knew of there was

fraud happening in his account.

      70.   Wells Fargo closed ABOURCHED’s MSM Luxury Estates

account on April 16, 2021 because of the fraud. A total of

$484,462.91 was returned to Stor-All’s Bank of America account.

      71.   On September 23, 2021, I spoke with Bert John Anderson

on the phone. Anderson told me that he goes by John, not Bert,

which is consistent with his company email address and with

publicly available information on the internet about Anderson

and Stor-All. Anderson is a chief executive of Stor-All, a

storage company in Florida that is owned by Anderson’s family.

Anderson confirmed that, in March and April 2021, his company

was the victim of a fraud scheme that resulted in a total of

$2.3 million in funds being transferred out of the company’s

Bank of America accounts into a variety of other bank accounts.

Anderson said that a company employee received a phone call in

which a purported Bank of America employee told the Stor-All



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employee that Stor-All’s bank accounts had been compromised and

the company needed to immediately help Bank of America avoid

having money stolen out of their accounts. The employee fell for

the ruse and provided the caller with the password to the

company’s payroll system, “Lock Pro.” Over the next few days,

the fraudster(s) conducted 23 wire transfers of funds out of the

company’s Bank of America accounts, totaling $2.3 million.

Anderson said the company realized quickly that they were the

victim of fraud; they were able to work with Bank of America to

recover all but approximately $300,000 of their funds.9

      72.   John Anderson was shown the text message exchange that

was provided by MOHAMED ABOURCHED to BHPD Officer Dimento.

Anderson denied ever having communicated with ABOURCHED or

anyone named “Moe” or “Mohamed” about the fraud against Stor-

All. Anderson said the purported text messages were not from him

and he had no knowledge of a person named “Nickoli.”

      F.    MOHAMED and KATERYNA ABOURCHEDs’ Intent to Defraud
            GRPS

      73.   Based on the nature and extent of the financial
transactions that ensued after $1,387,565.37 of GRPS funds were

transferred into the Moka Mobile Nails, Inc. Chase Bank account

on July 21, 2021, I believe that MOHAMED and KATERYNA ABOURCHED

were knowing and willing participants in a wire fraud scheme to

steal from Grand Rapids Public Schools. Most significantly,

$1,260,500—the vast majority of stolen GRPS funds from the July

9 Investigators are in the process of issuing legal process for the
numerous other bank accounts into which Stor-All funds were
transferred, to determine whether they are connected with the
ABOURCHEDs, MSM Luxury Estate, or Moka Mobile Nails, Inc.


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21st wire transfer—were transferred from the couple’s Moka

Mobile Nails, Inc. Chase Bank account (CHASE 9515) to bank

accounts belonging to the couple’s businesses, or to their

personal bank accounts, as summarized in the chart below.

 Institution                 Account No.   Accountholder                     Fraud Amt.
                             631776355     Mohamed and Kateryna Abourched    $287,500.00
 Chase Bank
                             897785205     Kateryna Abourched                 $6,000.00
                             3124838973    MSM Luxury Estates                 $5,000.00
 Navy Federal Credit Union
                             7090206678    MSM Luxury Estates                $100,000.00
 First Foundation Bank       1049001328    MSM Luxury Estate                 $862,000.00
 Total                                                                      $1,260,500.00

        74.     The payments and transactions out of MOHAMED and

KATERYNA ABOURCHED’s personal Chase Bank account, CHASE 6355,

following the 7/27/21 transfer of $287,500 into the account from

CHASE 9515, reflect a month-long spending spree at high-end

Beverly Hills restaurants and stores, as well as a trip MOHAMED

and KATERYNA ABOURCHED took to Cabo San Lucas. Based on my

training and experience, as well as the training and experience

of other fraud investigators with whom I work, this type of

spending activity is not consistent with that of individuals who

believe they are unwitting victims of fraud in their bank
accounts. Nor is this type of spending activity consistent with

legitimate real estate or investment transactions, for which

investment funds typically go into escrow or investment

accounts.

        75.     In addition to the fraudulent nature of transactions

from MOHAMED and KATERYNA’s bank accounts, MOHAMED ABOURCHED’s

real estate career and his MSM Luxury Estate business website

reflect that he is an experienced real estate salesperson.

Indeed, according to publicly available records of the


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California Department of Real Estate, MOHAMED MAGDI ABOURCHED is

licensed as a real estate salesperson with a business address of

the MSM OFFICE; he was first issued a salesperson license on

September 23, 1989—32 years ago. Given MOHAMED ABOURCHED’s 32-

year career as a licensed real estate salesperson in California,

I believe it is highly unlikely that he would fall prey to a

$2.8 million-investment scheme perpetrated by a woman from

Europe whose last name he does not know, who he has not met in

person, without any information about the source of funds that

were deposited into his bank account.

      76.   Further, ABOURCHED’s statements to GRPD Detective

Klein during the phone call on September 20, 2021, are not

consistent with those of a fraud victim upon realizing that he

is an unwitting mule in a fraud scheme. ABOURCHED was elusive:

he would not provide a last name for the purported mastermind of

the scheme, Dora, even though he claimed to have a picture of

her passport. Nor would ABOURCHED provide the name of the third

party who he claimed introduced him to Dora. Based on my

training and experience, as well as the experience of other

investigators and agents with whom I work, actual fraud victims

who proactively contact law enforcement are invested in sharing

as much information as possible in an effort to clear their

name, demonstrate their innocence, and recoup their losses.

      77.   Next, I believe the sheer number of fraudulent

incidents in the past seven months involving accounts and

companies belonging to MOHAMED ABOURCHED and KATERYNA ABOURCHED—

MSM Luxury Estate(s) and Moka Mobile Nails/Moka Nail Club—make



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it highly unlikely that they were unwitting victims in the wire

fraud scheme targeting Grand Rapids Public Schools. In my

opinion, it is no coincidence that MOHAMED and KATERYNA

ABOURCHED have suffered no financial losses, even though their

personal and business bank accounts at numerous banks have been

involved in frauds perpetrated against three different

businesses between March and October 2021.

      78.   Also significantly, ABOURCHED’s conduct surrounding

the attempted fraud in his Wells Fargo account in March and

April 2021 bears a striking resemblance to his recent conduct

surrounding the GRPS fraud. According to ABOURCHED’s own

statements to law enforcement, on April 3, 2021, and on

September 20, 2021, ABOURCHED was contacted by someone he knew

only by their first name—first “Nickoli” and then “Dora”—about a

real estate investment opportunity. In both cases, the real

estate investment opportunity presented to ABOURCHED was for the

exact amount of money that was fraudulently deposited into

ABOURCHED’s bank account: a $500,000 real estate opportunity

with “Nickoli” in April 2021, after which $500,000 was

fraudulently transferred into his Wells Fargo Account for MSM

Luxury Estates, and then a $2.8 million opportunity with “Dora,”

after which the same total amount was deposited into his and

KATERYNA’s Chase Bank account for MSM Luxury Estates (CHASE

9515). And in both cases, ABOURCHED proactively contacted law

enforcement and attempted to absolve himself by providing

evidence purportedly from employees of the victim companies. In

April 2021, ABOURCHED provided Officer Dimento with screen shots



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of messages ABOURCHED claimed to have exchanged with “Bert

Anderson” of “Stor Development LLC.” On September 20, 2021,

ABOURCHED provided GRPD Detective Klein with a photographed

letter purportedly from GRPS Employee Bill S., on GRPS

letterhead, which ABOURCHED claimed to have received that very

morning via WhatsApp. In both scenarios, the employees of the

respective fraud victim companies denied any knowledge of the

manufactured evidence implicating them.

      G.    Transmission of Interstate Wires in Chase Bank
            Transactions

      79.   According to a Chase Bank employee in the Electronic

Crimes Department, the Chase Bank computer servers that are used

for all of the bank’s electronic payments and transactions are

located in Illinois and Delaware. Thus, any electronic wire

transfer, ACH transfer, or electronic payment (such as Quickpay

or an electronic payment through the Zelle platform) effects a

transmission of electronic signals from the location where the

transaction is initiated—such as an ATM or a computer—through

one of the servers in Illinois or Delaware, to the destination

bank’s location.

      80.   Based on my review of information in the investigation

into the fraud against GRPS, there were numerous wire

communications transmitted in interstate commerce. Most

significantly, the two electronic wire transfers processed by

Grand Rapids Public Schools that were sent into the ABOURCHEDs’

Moka Mobile Nails, Inc. account at Chase Bank (CHASE 9515)

involved the initial transmission of electronic signals, i.e.,




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wire communications, from the GRPS computer in Grand Rapids,

Michigan, where Bill S. originated the wires, to one of the

Chase Bank servers in either Illinois or Delaware.

               IV.   PLACES AND VEHICLE TO BE SEARCHED

      81.   I am seeking authorization to search the ABOURCHED

RESIDENCE, the MSM OFFICE, the MOKA NAIL OFFICE, and the BLACK

BMW, described in more detail below and in Attachments A-1

through A-4, for evidence of wire fraud and money laundering

involving MOHAMED and KATERYNA ABOURCHED and their businesses of

MSM Luxury Estate(s) and Moka Mobile Nails, Inc./Moka Nail Club.

Additionally, I am seeking authorization to seize and search any

computers, electronic devices, and cell phones (“digital

devices”) contained in these locations that are capable of

storing the items listed in Attachment B.

      A.    ABOURCHED RESIDENCE: 330 North Crescent Drive,
            Apartment 310, Beverly Hills, CA, 90210

      82.   The ABOURCHED RESIDENCE is within a multi-unit

apartment building, pictured below.




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      83.   This residence of MOHAMED and KATERYNA ABOURCHED has

been confirmed through surveillance and through information

provided by a Postal Inspector with the United States Postal

Inspection Service (“USPIS”). According to the Postal Inspector,

a United States Postal Services (“USPS”) database reflects that

numerous packages have been delivered recently through the USPS

to the ABOURCHED RESIDENCE, addressed to KATERYNA ABOURCHED or

to iterations of her name including “Kate Abourched” and

“Katerina Abourched.”

      84.   On September 23, 2021, law enforcement officers with

the BHPD Task Force began a surveillance operation outside the

ABOURCHED RESIDENCE. Between approximately 6:30 and 7:00 a.m., a

BHPD Task Force investigator observed in the open, sub-basement

garage of the apartment building a black BMW car with California

license plate number 8RHP035, which is registered to MOHAMED and

KATERYNA ABOURCHED, i.e., the BLACK BMW. At approximately 7:35

a.m. on September 23, 2021, an undercover officer with the BHPD

Task Force went into the apartment building, which was open. The

undercover officer went to the third floor, found Apartment 310,

and took a picture of it, which is included in Attachment A-1.

      85.   Shortly before 9:15 a.m. on September 23, 2021,

surveillance officers who were parked outside observed MOHAMED

ABOURCHED exit the building through a balcony door that

corresponds with the location of Apartment 310. MOHAMED

ABOURCHED stood on the balcony for a short time before returning




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inside the ABOURCHED RESIDENCE. Below is a surveillance

photograph of MOHAMED ABOURCHED on the balcony of Apartment 310.




      86.   At approximately 9:50 a.m. on September 23, 2021,

surveillance officers parked outside observed KATERYNA ABOURCHED

walk out of the apartment building of the ABOURCHED RESIDENCE,

with a small dog. KATERYNA ABOURCHED was seen walking down the

street and over a block, with the dog.

      B.    MSM OFFICE:415 North Crescent Drive, Suite 230,
            Beverly Hills, CA, 90210

      87.   According to bank records, California business

filings, numerous websites, and surveillance, MSM Luxury

Estate(s) is located at 415 North Crescent Drive, Suite 230, in

Beverly Hills, i.e., the MSM OFFICE. MSM is MOHAMED ABOURCHED’s

purported real estate business. Between approximately 6:30 a.m.



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and 7:00 a.m. on September 23, 2021, a surveillance officer went

into the publicly accessible courtyard of the open-air office

building where the MSM OFFICE is located. The surveillance

officer took a picture of the door to Suite 230, which includes

a name plate that reads “MSM Luxury Estate”; this photograph is

included in Attachment A-2.

      88.   At approximately 10:15 a.m. on September 23,

surveillance officers observed MOHAMED ABOURCHED drive the BLACK

BMW into the garage parking area of the building. Shortly

thereafter, a surveillance officer who was situated in the open-

air inner courtyard of the building observed and photographed

MOHAMED ABOURCHED go into the entry door of Suite 230, i.e., the

MSM OFFICE. In that photograph, below, MOHAMED ABOURCHED is

wearing a white shirt and is in the corner of the second story.




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      89.    A Postal Inspector with the USPIS provided information

indicating that a USPS database associates the address of the

MSM OFFICE with “Moe Abourched” and “MSM Luxury Estates.” The

Postal Inspector also indicated that USPS records reflect that

packages have been delivered recently to MOHAMED ABOURCHED at

the MSM OFFICE.

      90.    On September 23, 2021, BHPD Task Force officers

conducted surveillance of the MSM OFFICE from approximately 6:30

a.m. to 10:30 a.m. The only person who entered the MSM OFFICE

space during that time period was MOHAMED ABOURCHED, shortly

after 10:15 a.m.

      C.     MOKA NAIL OFFICE: 292 South La Cienega Boulevard,
             Suite 207A, Beverly Hills, CA 90211

      91.    On September 23, 2021, at approximately 9:55 a.m.,

surveillance officers observed MOHAMED ABOURCHED drive KATERYNA

ABOURCHED, in the BLACK BMW, from the area of the ABOURCHED

RESIDENCE to the office building at 292 South La Cienega

Boulevard, in Beverly Hills, where the MOKA NAIL OFFICE is

located in Suite 207A. At approximately 10:05 a.m., KATERYNA
ABOURCHED got out of the BLACK BMW and went into the building of

the MOKA NAIL OFFICE. A surveillance officer went into the

building, which was open, after KATERYNA ABOURCHED. The

surveillance officer observed and photographed the building

directory, which shows that “Moka Nail Club” is in Suite 207A.

The photograph, below, depicts the relevant part of the building

directory:




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      92.   Shortly thereafter, a female law enforcement officer

with the BHPD Task Force, acting in an undercover capacity,

knocked on the door of Suite 207A. KATERYNA ABOURCHED opened the

door and the undercover officer observed that she (KATERYNA

ABOURCHED) was the only person in the suite. The undercover

officer observed that the Suite appeared to consist of one small

room. A picture of the door to the MOKA NAIL OFFICE in Suite

207A appears in Attachment A-3.

      93.   An internet search for Moka Nail Club returned the

address of 292 La Cienega Boulevard, in Beverly Hills. There are

numerous internet reviews of Moka Nail Club, including reviews

on yelp.com and booksy.com. Moka Nail Club has a website that

depicts numerous pictures of KATERYNA ABOURCHED. Based on these

publicly viewable internet sources, it appears that Moka Nail



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Club has one employee, KATERYNA ABOURCHED, who has experience as

a nail technician and “nail coach.”

      94.   A USPIS Postal Inspector provided information

indicating that a USPS database associates the address of the

MOKA NAIL OFFICE with KATERYNA ABOURCHED and “Moka Nail Club.”

      95.   I searched the California business database, online,

for any other business with a name that includes “Moka” and

“Nail” or “Nails.” The only such business is that of “Moka

Mobile Nails, Inc.,” which is presently suspended and prohibited

from doing business in California, as discussed in paragraph 15,

above. Based on the foregoing, I believe that the business

incorporated as “Moka Mobile Nails, Inc.” is doing business as

“Moka Nail Club,” at the MOKA NAIL OFFICE.

      D.    BLACK BMW: Black 2020 BMW X5 with California license
            plate 8RHP035 (“BLACK BMW”)

      96.   According to California Secretary of State

information, a black 2020 BMW model X5, with California license

plate 8RHP035 and VIN 5UXCR4C09LLT18660 (the BLACK BMW) is

registered to MOHAMED ABOURCHED and KATERYNA ABOURCHED. Officers
with the BHPD Task Force confirmed through surveillance that the

BLACK BMW is the ABOURCHEDs’ vehicle. As noted above, on

September 23, 2021, a surveillance officer observed the BLACK

BMW in the sub-basement parking garage of the multi-unit

apartment building of the ABOURCHED RESIDENCE. The photograph,

below, was taken by the surveillance officer on September 23 in

the building’s garage. It shows the back of the BLACK BMW in the

center of photo, between two other cars (circled in red):




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      97.   As noted above, at approximately 9:50 a.m. on

September 23, 2021, surveillance officers observed KATERYNA

ABOURCHED walk out of the multi-unit apartment building, with a

small dog. KATERYNA ABOURCHED and the dog were seen walking down

the street and over a block. At approximately 9:50 a.m.,

surveillance officers observed MOHAMED ABOURCHED drive the BLACK

BMW out of the garage of the apartment building, down the street

and over approximately one block. MOHAMED ABOURCHED then stopped

the BLACK BMW and KATERYNA ABOURCHED got in the passenger seat

(with the small dog).



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      98.    Surveillance officers followed the BLACK BMW to the

building of the MOKA MAIL OFFICE, where KATERYNA ABOURCHED got

out of the BLACK BMW (with the dog) and went into the building.

Officers continued to conduct surveillance while MOHAMED

ABOURCHED drove the BLACK BMW from there to the building of the

MSM OFFICE, where he arrived at approximately 10:15 a.m. The

surveillance photograph below was taken on September 23, 2021,

while officers were driving behind the MOHAMED ABOURCHED in the

BLACK BMW.




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     V.     TRAINING AND EXPERIENCE REGARDING WIRE FRAUD, MONEY
                     LAUNDERING, AND CONSPIRARCY10

      99.   Based on my training, experience, and familiarity with

investigations conducted by other law enforcement officers and

agents in cases involving wire fraud, money laundering, and

related conspiracies, I know the following:

            a.   People engaged in financial crimes typically

retain records relating to their illicit activities within their

places of business, their residences, and other places under

their control, including their vehicles. These records may be in

the form of receipts, written notes, correspondence, negotiated

instruments, contracts, corporate records, invoices, and

financial account records. Such records are likely to be located

at business offices because this is often where business is

conducted—both legitimate business and illegitimate or

fraudulent “business.” These records are also regularly found at

the personal residences of individuals engaged in financial

crimes, and they are often transported between a business

location and a residence, in personal vehicles.

            b.   Based on my training and experience, I know that

individuals who participate in wire fraud, bank fraud, money

laundering, and related conspiracies, often have co-


10As used herein, the term “digital device” includes any electronic
system or device capable of storing or processing data in digital
form, including central processing units; desktop, laptop, notebook,
and tablet computers; personal digital assistants; wireless
communication devices, such as paging devices, mobile telephones, and
smart phones; digital cameras; gaming consoles; peripheral
input/output devices, such as keyboards, printers, scanners, monitors,
and drives; related communications devices, such as modems, routers,
cables, and connections; storage media; and security devices.


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conspirators, and often maintain telephone numbers, e-mail

addresses, bank records, and other contact information and

communications involving their co-conspirators in order to

conduct their illicit business. Oftentimes, they do so on their

digital devices. Suspects regularly use their digital devices to

communicate with co-conspirators by phone, text, e-mail, and

social media, including by sending photographs.

           c.    People who engage in financial fraud often use

digital devices to perpetrate their crimes due to the relative

anonymity gained by conducting financial transactions

electronically or over the internet and the ability to

communicate through peer-to-peer platforms such as WeChat,

SnapChat, and WhatsApp. It is common practice for individuals

involved in wire fraud, bank fraud, money laundering, and

related conspiracies to possess and use digital devices to

facilitate, conduct, and track wire and bank transactions and

otherwise coordinate the distribution of fraud proceeds

furtherance of a conspiracy. In this case, for example, the

online banking profiles of both MOHAMED and KATERYNA ABOURCHED

were used to transfer stolen GRPS funds to other bank accounts

and/or third-party recipients, through electronic money

transfers or wires.

           d.    In order to succeed in a wire fraud scheme like

the one perpetrated against GRPS, participants must use digital

devices like computers, phones, and tablets to research

potential victim companies and to initiate fraudulent

communications with victims. In addition to evidence of



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financial transactions and co-conspirator communications that

are often found in digital devices, digital devices may contain

evidence of identity theft or breaches of company email

accounts, such as the GRPS email account of Amy S. that was

breached in the fraud against GRPS. Additionally, digital

devices used in wire fraud schemes are likely to contain

evidence of false and fabricated documents used in the scheme,

such as the bogus letter on GRPS letterhead purportedly from

GRPS employee Bill S., and the fabricated invoice purportedly

sent from Superior Gas Liquids USA to Applebee Oil and Propane.

           e.    It is highly unlikely that subjects who have

gained access to passwords of victim email accounts or financial

accounts would destroy records of those passwords. Such

information is difficult and/or expensive to obtain. Records of

stolen account passwords are often maintained within digital

devices.

           f.    People who engage in profitable wire fraud

conspiracies frequently have large amounts of United States

currency stored in places, including their residences, that they

perceive to be safe from seizure by law enforcement agencies. I

know that individuals engaged in these types of schemes to

defraud will, at times, keep money and documents under lock and

key in secure places such as cabinets, drawers, or safes. For

this reason, I am requesting that if any safes or other locked

containers are found on the premises, locksmiths may be used to

open the safe or container either on the premises, or, if




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reasonably necessary, any safe or container may be moved off-

premises to be opened.

          VI.   TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      100. Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet. Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time. Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device. That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them. For example, recoverable



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data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it. For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions. Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed. Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

           e.    Based on my training, experience, and information

from those involved in the forensic examination of digital

devices, I know that it is not always possible to search devices

for data during a search of the premises for a number of

reasons, including the following:

                 i.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction. Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of, and to conduct a

complete and accurate analysis of, data on digital devices,



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which may take substantial time, particularly as to the

categories of electronic evidence referenced above. Also, there

are now so many types of digital devices and programs that it is

difficult to bring to a search site all of the specialized

manuals, equipment, and personnel that may be required.

                 ii.   Digital devices capable of storing multiple

gigabytes are now commonplace. As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      101. The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices. To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device. To unlock

a device enabled with a fingerprint unlock function, a user

places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second. To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when



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a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts. Thus, the

opportunity to use a biometric unlock function, even on an

enabled device, may exist for only a short time. I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress MOHAMED ABOURCHED’s and/or KATERYNA

ABOURCHED’s thumb and/or fingers on the device(s); and (2) hold

the device(s) in front of MOHAMED ABOURCHED’s and/or KATERYNA

ABOURCHED’s face with his or her eyes open to activate the

facial-, iris-, and/or retina-recognition feature.




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                             VII. CONCLUSION

      102. For all the reasons described above, there is probable

cause to believe that the items listed in Attachment B, which

constitute evidence, fruits, and instrumentalities of violations

of Title 18, United States Code, Section 1343 (wire fraud) and

Title 18, United States Code, Sections 1956(a)(3), 1956(h), and

1957 (money laundering and conspiracy to commit the same), will

be found at the ABOURCHED RESIDENCE, as described in Attachment

A-1, the MSM OFFICE, as described in Attachment A-2, the MOKA

NAIL OFFICE, as described in Attachment A-3, and in the BLACK

BMW, as described in Attachment A-4.




                                         AUSTIN HUNT,
                                         Special Agent
                                         United States Secret Service


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 1st day of
October, 2020.



HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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